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     Federal Defender
 2
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 3   Assistant Federal Defender
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     KELVIN BANISTER
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       ) No. 2:07-cr-056 LKK
                                     )
12                  Plaintiff,       ) STIPULATION AND ORDER CONTINUING
                                     ) CASE AND EXCLUDING TIME
13        v.                         )
                                     )
14   KELVIN BANISTER,                ) Date:     April 10, 2007
                                     ) Time:     9:30 a.m.
15                  Defendant.       ) Judge:    Hon. Lawrence K. Karlton
     __________________________      )
16
17
          IT IS HEREBY STIPULATED by and between Assistant United States
18
     Attorney Robin Taylor, Counsel for Plaintiff, and Assistant Federal
19
     Defender Jeffrey L. Staniels, Counsel for Defendant, that the status
20
     conference scheduled for April 10, 2007, be vacated and the matter
21
     recalendared for status conference on May 22, 2007.
22
          This continuance is sought to permit receipt and evaluation of
23
     discovery, and consideration of investigation, motions, and other
24
     aspects of defense preparation.      Counsel have conferred on this matter
25
     and Ms. Taylor has advised that a substantial amount of documentary
26
     discovery is involved and can be provided shortly.
27
          IT IS FURTHER STIPULATED that for trial under the Speedy Trial Act
28
              Case 2:07-cr-00056-LKK Document 19 Filed 04/06/07 Page 2 of 2


 1   be excluded between April 10, 2007, and May 22, 2007, pursuant to 18
 2   U.S.C. § 3161(h)(8)(A) & (B)(iv), Local Code T-4.
 3               IT IS SO STIPULATED.
 4
 5   Dated:    April 6, 2007                    /S/ Robin Taylor
                                               ROBIN TAYLOR
 6                                             Assistant United States Attorney
                                               Counsel for Plaintiff
 7
 8   Dated:    April 6, 2007                    /S/ Jeffrey L. Staniels
                                               JEFFREY L. STANIELS
 9                                             Assistant Federal Defender
                                               Counsel for Defendant
10                                             KELVIN BANISTER
11
12                                        O R D E R
13
           IT IS SO ORDERED.
14
                                   By the Court,
15
16
     Dated: April 6, 2007
17
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28

     Stipulation and Order Continuing
     Case and Excluding Time                   2
